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           IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF DELAWARE


JULIUS CEPHAS et al.                                   :
                                                       :      CIVIL ACTION
                       Plaintiffs                      :
            vs.                                        :
                                                       :      No. 1:16-cv-00316-RGA
INTERNATIONAL LONGSHOREMEN’S ASSOCIATION               :
 AFL-CIO, et al.                                       :
                   Defendants.                         :




         REPLY BRIEF IN SUPPORT OF PLAINTIFFS’
        MOTION FOR PARTIAL SUMMARY JUDGMENT



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       Plaintiffs, Julius Cephas, Paul Cutler, Emmett Foster and Sally Chapman hereby reply to

defendants’ response to their motion for partial summary judgment.

              STATEMENT OF NATURE AND STATE OF PROCEEDINGS

       In accordance with the Court’s scheduling order both plaintiffs and defendants filed

dispositive motions on April 27, 2018. Plaintiffs filed a motion for partial summary judgment on

Counts III and IV (D.I. #75) a supporting brief (D.I. #76). Defendants filed an answering brief on

May 18, 2018. (D.I. #78). Plaintiffs hereby reply.

                                SUMMARY OF ARGUMENT

       Plaintiffs have moved this court, under Rule 56 of the Federal Rules of Civil Procedure, to

grant summary judgment with respect to Count III—Violation of Section 101(a)(5) of the Labor

Management Reporting and Disclosure Act (LMRDA), 29 U.S.C. § 411(a)(5), and Count IV—

Violation of Section 301 of the Labor Management Relations Act (LMRA), 29 U.S.C. § 185, of

the Amended Complaint. (D.I. #32 at 19 & 21.),

       Plaintiffs are entitled to summary judgment because the ILA violated Count III by stripping

plaintiff Cephas of his right as a union member to run for union office without providing Cephas

notice that he was subject to discipline as a member. Section 101(a)(5) of the LMRDA prohibits

discipline of a union member unless the member is served with written specific charges. Here the

ILA served Cephas only with charges that were to be the basis for imposing a trusteeship on Local

1694-1. It did not inform Cephas that he was to be tried under the union’s disciplinary procedures

or that he was subject in the trusteeship proceeding to being stripped of his basic rights as a

member. The failure to provide such notice prejudiced Cephas by leading him to believe that he

was not personally subject to being disciplined and that his rights as a member were not in

jeopardy.


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        Plaintiffs are entitled to summary judgment on Count IV because, in disciplining Cephas,

the ILA failed to adhere to its own constitution. The ILA Constitution limits the imposition of

member discipline to proceedings under Article XVIII (Discipline), requires that when, as here, a

committee is appointed to review charges against an accused, that the accused be served with a

copy of the committee’s report and further mandates that the accused be granted an opportunity to

appeal the committee’s findings and recommendations to the decision-making body. In

disciplining Cephas, the ILA ignored the constitutional requirement to proceed under Article

XVIII, failed to provide Cephas with a copy of the trial committee’s report before it was adopted

by the Executive Council and denied him any right of appeal.

                                          ARGUMENT

        Plaintiffs are entitled to summary judgment on their claims. First, the ILA violated Section

101(a)(5) of the LMRDA by disciplining Cephas without providing notice of pending discipline.

There is no genuine dispute that Cephas was only notified that he was subject to being removed

from office as part of the institution of a trusteeship. The ILA never notified him that he was

subject to being stripped of his rights as a member. As a result, the ILA led Cephas to believe that

his rights as a member were not in jeopardy. Second, the plaintiffs are entitled to summary

judgment on plaintiffs’ claim that the ILA violated Section 301 of the LMRA by breaching its own

constitution in the way it conducted a hearing on the trusteeship charges and decided to punish

Cephas by barring him from running for office for three years. In attempting to defend its decision

to strip Cephas of the right to run for office for three years, the ILA adopts patently unreasonable

interpretations of its constitution.




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     A.       Plaintiffs are entitled to summary judgment on their claim that the ILA violated

              Section 101(a)(5) of the LMRDA by barring Cephas from running for office for 3

              years.

           Plaintiffs are entitled to summary judgment on their claim that the ILA violated Section

101(a)(5) of the LMRDA, 29 U.S.C. § 411(a)(5), by barring Cephas from running for office for 3

years. In the charges filed requesting a trusteeship, the ILA failed to notify Cephas (or the other

charged officers and Executive Board members1) that they were accused of offenses that merited

discipline as defined in the LMRDA. Rather the ILA repeatedly informed Cephas that he was to

be tried in accordance with the ILA’s trusteeship provisions (Article XXI, D.I. 76-2 at 56-59.) and

would be subject only to removal from office.

           Section 101(a)(5) of the LMRDA requires notice of the charges against an accused before

a union member can be stripped of basic rights.

           No member of any labor organization may be fined, suspended expelled, or
           otherwise disciplined except for nonpayment of dues by such organization or by
           any officer thereof unless such member has been (A) served with written specific
           charges; (B) given a reasonable time to prepare his defense; (C) afforded a full and
           fair hearing.

29 U.S.C. § 411(a)(5). The requirement of written specific charges means charges specific enough

to inform the accused of the offense that he has committed, International Brotherhood of

Boilermakers v. Hardeman, 401 U.S. 233, 245 (1971). However, where, as here, “the union’s

charges make reference to specific written provisions, Section 101(a)(5)(A) obviously empowers

the federal courts to examine those provisions and determine whether the union member had been

misled or otherwise prejudiced in the presentation of his defense.” Id.




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    The ILA only disciplined Cephas.


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         Before proceeding to the defendants’ arguments, it is worth setting out some undisputed

facts:

         1. The ILA repeatedly notified the accused that they would be tried under the trusteeship

            provisions of the International Constitution (Article XXI, D.I. 76-2 at 56-59).

         2. The ILA identified removal from office as the only and gravest specific potential

            penalty faced by the accused.

         3. The ILA never informed the accused that they faced trial under Article XVIII

            (Discipline) (D.I. 76-2 at 48-51) the disciplinary Article of the International

            Constitution.

         4. The ILA also did not indicate that announced Article XXI proceeding would also

            consider the possibility of discipline as defined under the LMRDA and in its

            constitution.

         5. The ILA never placed the accused on notice that they faced a loss of their basic rights

            as members as defined in Article XXXI, Section I(2). (See, D.I. 76-2 at 73.)

As a result, the ILA failed to expressly notify the accused that the charges against them were being

considered as a basis for discipline and that they faced loss of their basic rights as members.

         The ILA vainly tries to escape these facts by citations to the charges filed by Ashe and

Witiw. The ILA points out that Ashe and Witiw mention “Article XVIII” in charge number 1 and

“subject to discipline” in charge number 2. (See, D.I. #76-6 at 3.) But, for several reasons, neither

reference was sufficient to place Cephas and the Executive Board that they were subject to the loss

of their rights as members. First, the Ashe-Witiw charges called for the imposition of a trusteeship

(“trusteeship is warranted”) not discipline. (Id. at 4.) Second, the ILA continuously treated the

Ashe-Witiw charges exclusively as solely a trusteeship matter. International President Daggett and




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Vice Presidents Little and O’Donnell repeatedly indicated that the charges were to be heard only

to see if a trusteeship was warranted. They made no mention of any evaluation under Article XVIII

or possible discipline. Consequently, Cephas, with a 20-year experience in how the ILA

administered discipline, had no reason to believe that loss of his rights as a member was under

consideration.

       The ILA first attempts to avoid the consequences of its errors with a transparently specious

argument that the Court lacks subject matter jurisdiction over plaintiffs’ Section 101(a)(5) claim.

Defendants maintain that plaintiffs are attempting to overturn a January 2018 election held in Local

1694-1 after the ILA’s tardy termination of its trusteeship. They point out that jurisdiction over

such elections lie exclusively with the Secretary of the U.S. Department of Labor in the first

instance. (D.I. #78 at 7.) Here the ILA tries to throw sand in the Court’s eyes. Plaintiffs have not

requested that the Court overturn the 2018 election; they request only that the Court find that the

ILA improperly disciplined Cephas in violation of Section 101(a)(5) of the LMRDA. Originating

with the May 3, 2016 filing of its complaint, Plaintiffs claim, , concerns a disciplinary action taken

by the ILA on April 25, 2016. (D.I. #2.) It is well established that district courts of the United

States have jurisdiction to hear such claims. Hardeman, 401 U.S. 233. A decision in Cephas’s

favor might have implications for the recently held election but plaintiffs do not seek to invalidate

the election or otherwise intrude on the Secretary of Labor prerogatives.

       In its answering brief, (D.I. #78 at 13.) the ILA attempts to rationalize its failure to notify

the plaintiffs of possible discipline by citing Dunleavy v. Radio Officers Union, Dist. No. 3, 1992

WL 210575 (D. N.J. 1992). Far from supporting it, however, Dunleavy weighs heavily against the

ILA. In Dunleavy, the plaintiff alleged that the union breached Section 101(a)(5) of the LMRDA

by failing to inform him of the penalties he faced. The court disagreed with the plaintiff’s claim,




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finding that the plaintiff was, in fact, “apprised appropriately … of the potential punishment he

faced.” Id. at *11. The court noted that, although the written charges did not specify possible

discipline, the union supplied the plaintiff in Dunleavy with a copy of its bylaws and informed the

plaintiff that he would be tried in accordance with Article 11 of the union’s constitution, and that

Article 11 specifically authorized the trial committee to “recommend the degree of punishment,

including expulsion from the union.” Id. In contrast, in this case, however, the ILA repeatedly

informed Cephas that he would be tried exclusively under Article XXI (“Trusteeships”) (D.I. 76-

2 at 56-59) an Article that does not empower the union’s Executive Council to discipline members

as part of a trusteeship proceeding. Moreover, the only penalty specifically called for in the ILA’s

charges was removal from office. Consequently, Dunleavy does not support the ILA’s position.

       Defendants also seek to rely on Hughes v Bricklayers and Allied Craftworkers Local No.

45, 386 F.3d 101 (2004), to excuse their failure to notify Cephas of possible discipline. In Hughes,

the plaintiffs argued that the union violated Section 101(a) by instituting suspensions that were not

expressly authorized by the union’s constitution and bylaws. Id. at 105. The plaintiffs contended

that since the constitution’s provisions relating to discipline specified only maximum fines,

removal from office, barring a member from seeking office and expulsion from membership,

suspensions were not permitted. Id. at 106. But the court noted that just as the union’s constitution

allowed a fine less than the maximum prescribed for an offense, so it permitted suspension for an

offense where expulsion was specifically authorized. Id. The court acknowledged that the union

could not lawfully impose a suspension for an offense where expulsion was not listed as a sanction.

Id. But since the plaintiffs were suspended for offenses specifically authorizing expulsion, the

court reasoned that the union had not imposed a punishment inconsistent with its rules. Id.




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       Like Dunleavy, Hughes does not support the ILA. In this case, the ILA did exactly what

the Hughes court stated would not be authorized under that union’s constitution. The ILA

conducted a proceeding under Article XXI. Section 3 of that Article clearly delineates the powers

of the Executive Council and limits those powers to suspending the accused officers from office,

appointing temporary officers to their positions and appointing trustees to serve pending a decision

of the Council on the charges. (D.I. 76-2 at 57.) The Executive Council’s power with respect to an

accused in a trusteeship proceeding is limited to removing him from office; it is not authorized to

bar him or her from office or suspend other privileges of membership. Consequently, the ILA here,

in contradiction to Hughes, imposed a punishment that was not a lessor included penalty (such as

suspending an officer from his or her office) impliedly permitted in an Article XXI proceeding.

       In fact, the circumstances here more closely approximate those in Waring v. International

Longshoremen’s Ass’n, 653 F.Supp. 374 (S.D. Ga. 1987). In Waring, the court held that, to comply

with Section 101(a)(5), the union cannot mislead a member about potential penalties that the union

member confronts by misciting its own constitution. Id. at 379-80. In Waring, the ILA, as it has

done here, identified a different bylaw it its charges than the one the accused actually violated. As

here, the bylaw identified carried a much less severe penalty than the one allowed under the correct

bylaw. The ILA chose the more severe penalty to punish the member despite providing notice of

charges under the wrong bylaw. Upon review, the court noted that “the plaintiff was not afforded

adequate notice of the charges against him or of the penalties that could be assessed, and his

defense … was not based on accurate information and was prejudiced by the defendants’ omissions

and typographical error.” The court held that, by leading the member to believe that he would be

tried and punished under the wrong bylaw, the ILA had violated the member’s rights under Section

101(a)(5) of the LMRDA. Id. at 379-80.




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        Finally, the ILA claims that Cephas has not shown prejudice from its decision to discipline

during a trusteeship proceeding. The facts clearly show otherwise. In the first place had the ILA

notified him that he was subject to loss of his rights as a member, Cephas would have conducted

a different defense. He would have developed evidence showing that the two-tier seniority system

had been in existence for nearly two decades (originating in an agreement negotiated by ILA

International representatives, including his prime accuser) and that he had done everything

possible to eliminate that system consistent with the will of his membership. He would have also

rebutted the false allegation that he was involved in the promotion of his son. In addition, he would

also have put in mitigating evidence showing his personal contribution to enhancing the ILA’s

credibility in Delaware and the greater Wilmington community. But even more importantly,

Cephas would have insisted that his rights to a hearing under Article XVIII be respected, including

the Article XVIII, Section 4 (D.I. 76-2 at 50-51) right to be served with a copy of the trial

committee’s decision and the Article XVIII, Section 6 (D.I. 76-2 at 51) right of appeal from that

committee’s decision.

        There is no genuine dispute that the ILA repeatedly provided only notice of a trusteeship

proceeding under Article XXI and identified only removal from office as the appropriate

punishment. Consequently, plaintiffs are entitled to summary judgment on their claims that the

ILA disciplined Cephas in violation of Section 101(a)(5) of the LMRDA.

   B.      Plaintiffs are entitled to summary judgment on their claim that the ILA violated

           Section 301 of the LMRA by stripping Cephas of the right to run for office for 3

           years.

        In their answering brief, (D.I. # 78) defendants ignore the substance of plaintiffs’ claim

that the ILA violated Section 301 of the LMRA. 29 U.S.C. § 185. Plaintiffs argue that the ILA




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violated its own Constitution in suspending Cephas’s right to run for office for 3 years. Plaintiffs

have shown that the ILA ignored the express provisions of its own constitution requiring a hearing

under Article XVIII (D.I. 76-2 at 48-51) as a prelude to discipline, by failing to provide him with

a copy of the trial committee’s report as required under that Article and by failing to grant his

request to submit an appeal to the Executive Council. Defendants do not attempt to deal directly

with any of these issues.

       Instead, defendants confine their remarks to something that is not in dispute. They argue

that Section 1(e) of Article XVIII (D.I. #76-2 at 49) provides the Executive Council with the power

to discipline members found guilty of the offenses described in the Article XVIII. (D.I. #78 at 22.)

The plaintiffs do not dispute the fact that the Executive Council has the power to discipline at the

culmination of a bona fide Article XVIII proceeding. What the defendants ask the court to ignore,

however, is that the ILA did not conduct the necessary Article XVIII proceeding on the charges

against Cephas. From beginning to end, it proceeded under Article XXI. It failed to notify Cephas

that he would be tried under Article XVIII (Section 1(b); D.I. # 76-2 at 48), failed to provide him

with a copy of trial committee’s report as required under that Article (Section 4; D.I. # 76-2 at 50)

and denied him the written appeal to the Executive Council also guaranteed by that Article (Section

6; D.I. # 76-2 at 51). And then, after proceeding according to the rules for Article XXI (D.I. # 76-

2 at 56-59), the Executive Council adopted a penalty, not authorized under Article XXI but

permitted only under Section 1(a) of Article XVIII (D.I. # 76-2 at 48). In so doing, the ILA adopted

a “patently unreasonable” interpretation of its constitution conflicting with the constitution’s stark

and unambiguous language and reading out important provisions (right to notice, discipline

restricted to an Article XVIII proceeding, a copy of the findings, right of appeal). See, Executive

Bd. of Transport Workers Union of Philadelphia, Local 234 v. Transport Workers Union of




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America, AFL-CIO, 338 F.3d, 166, 170 (3rd Cir. 2003). See, e.g. Kowaleviocz v. Local 333, Int’l

Longshoremen’s Ass’n, 942 F.2d 285, 289 (4th Cir. 1991) (ILA local committed substantive

violation of union constitution by failing to provide the plaintiff written notice specifying the

grounds for appeal); Perry v. International Longshoremen’s Ass’n, AFL-CIO, 638 F. Supp. 1441,

1448 (S.D. NY 1986)(Granting plaintiff summary judgement on claim of ILA violation of Article

XVIII, Section 4 baring an accuser from sitting on the ILA Executive Council.)

       Defendants do their best to obscure the ILA’s adoption of patently unreasonable

interpretation of its constitution. Defendants ignore the express limits placed on the Executive

Council’s authority in Section 3 of Article XXI (D.I. # 76-2 at 57) in a trusteeship proceeding and

surreptitiously import into that Article powers reserved to the Council only after a hearing

conducted under Article XVIII. (See, Art. XVIII, Section 1(b); D.I. # 76-2 at 48.) They ignore the

Article XVIII right of the accused to receive a copy of the trial committee’s written decision (See,

Art. XVIII, Section 4; D.I. # 76-2 at 50) and, despite the express language of Section 4, pretend

that there is “nothing in the Constitution to support th[is] right. (D.I. # 78 at 22.) And finally they

ignore Article XVIII, Section 6 (D.I. # 76-2 at 51) guarantee of a right of appeal from the trial

committee to the Executive Council (Id.) In fact, defendants jump back and forth between Article

XVIII and Article XXI cherry picking provisions out of context that support the ILA’s discipline

of Cephas while ignoring those provisions that undermine it.

       Defendant’s questionable selectivity is amply illustrated by the one case cited in defense

of their tendentious interpretations. They disingenuously maintain that the “precise procedure”

followed in this case was “upheld” in Bailey v. Dixon, 314 F. Supp. 452 (E.D. La. 1970), aff’d,

451 F.2d 160 (5th Cir. 1971), cert. denied, 406 U.S. 945 (1972). Bailey, however, was concerned

solely with the ILA’s imposition of a trusteeship on Local 1830 of Port Allen, Louisiana. Id. The




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ILA Executive Committee upheld a trial committee’s recommendation and instituted a trusteeship

over the local union. But, unlike this case, there was no imposition of discipline on a member.

Thus, there was also no allegation that the ILA denied its members rights guaranteed in the

disciplinary provisions of its constitution. Consequently, Bailey does not support the ILA.

       Since they have advanced a “patently unreasonable” interpretation of the ILA Constitution,

defendants are not entitled to summary judgement on plaintiffs’ Section 301 claims.

                                        CONCLUSION

       For all the reasons set forth above, plaintiffs, Julius Cephas, Paul Cutler, Emmett Foster

and Sally Chapman, respectfully request that the Court grant plaintiffs motion for partial summary

judgment.                                            Respectfully submitted,

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                               CERTIFICATION OF SERVICE

       I certify that on the date stated below a copy of the foregoing Reply Brief in Support of

Plaintiffs’ Motion for Partial Summary Judgment was served by the Court’s electronic filing

system on all parties of record.



                                                          /s/ Claiborne S. Newlin
June 8, 2018                                              Claiborne S. Newlin, Esq.




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